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 6                                   UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8                                                   ***
                                                     )
 9   UNITED STATES OF AMERICA,                       )
                                                     )
10                      Plaintiff,                   )         3:08-CR-0006-LRH-RAM
                                                     )
11   v.                                              )
                                                     )         ORDER
12   DARIN JEROME FRENCH, and                        )
     JENNIFER LYNN FRENCH                            )
13                                                   )
                        Defendants.                  )
14                                                   )

15           Before the court is defendant Jennifer Lynn French’s (“French”) motion for leave to reopen

16   the pretrial deadline which ended on August 13, 2010. Doc. #157.

17           Pursuant to Rule 45 of the Federal Rules of Criminal Procedure, the court may extend the

18   time for filing of pretrial motions upon a showing of good cause by the moving party.

19   FED. R. CRIM. P. 45(b)(1)(A). The court has reviewed the documents and pleadings on file in this

20   matter and finds that there is good cause to reopen the deadline for pre-trial motions. Accordingly,

21   the court shall grant French’s motion and extend the time for filing pre-trial motions for thirty (30)

22   days.

23   ///

24   ///

25   ///

26   ///
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 1          IT IS THEREFORE ORDERED that defendant’s motions for leave to re-open and extend

 2   the pre-trial deadline (Doc. #157) is GRANTED. The deadline for filing pre-trial motions is re-

 3   opened and extended up to and including thirty (30) days from entry of this order.

 4          IT IS SO ORDERED.

 5          DATED this 18th day of October, 2010.

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 7                                                   __________________________________
                                                     LARRY R. HICKS
 8                                                   UNITED STATES DISTRICT JUDGE

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